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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                             CASE NO: 13-24206-CV-WILLIAMS/Turnoff


  JACK LIPKIN,

          Plaintiff,

  vs.

  NORWEGIAN CRUISE LINE LIMITED, a Bermuda
  Corporation; NORWEGIAN CRUISE LINES, INC.;
  NCL (Bahamas) LTD., a Bermuda Company d/b/a
  NCL; and NCL AMERICA, INC.,

        Defendants.
  _________________________________/

                              DEFENDANTS’ MOTION TO DISMISS

          Defendants, NORWEGIAN CRUISE LINE LIMITED, NORWEGIAN CRUISE LINES,

  INC., NCL (Bahamas) LTD., d/b/a NCL, and NCL AMERICA, INC., by and through undersigned

  counsel and pursuant to the Federal Rules of Civil Procedure, hereby move to dismiss Plaintiff’s

  Complaint, and state:

                                   INTRODUCTION AND BACKGROUND

          After successfully disembarking from the cruise ship, the Norwegian Sun, without incident,

  the Plaintiff claims that he was injured on a people mover in the Port of Miami’s terminal.

  Nevertheless, Plaintiff attempts to hold Defendants liable for his alleged injuries.

          On June 6, 2013, Plaintiff filed an eight-count Complaint based on this incident in the

  Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County alleging negligence and

  breach of contract, stating that he was, “a paying passenger vacationing on the cruise ship

  Norwegian Sun” and that “[a] copy of the passenger’s ticket is attached [to the Complaint] as Exhibit

  “A.” Defendants moved to dismiss Plaintiff’s original state court complaint for improper venue


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  pursuant to a forum selection clause in the Plaintiff’s Guest Ticket Contract, which required the

  lawsuit to be brought in the United States District Court for the Southern District of Florida.

  Plaintiff then filed an amended complaint in state court and removed all references to the subject

  Guest Ticket Contract, and even to the cruise itself, in an attempt to avoid the mandatory forum

  selection clause. Similar to the first four Counts of his Complaint here, Plaintiff attempted to argue

  that the alleged incident instead occurred while he was a “business invitee” in a “building,” allegedly

  collectively owned by the Defendants, in hopes that the state court would not apply the forum

  selection clause. Despite such artful pleading, the state court held that the Guest Ticket Contract

  remained applicable to this lawsuit and dismissed Plaintiff’s amended state court complaint, with

  prejudice.

            Plaintiff’s present Complaint is a confusing amalgamation of both of his previous state court

  complaints so that there are now many contradictory allegations and a total of twelve Counts,

  including two negligence claims against each named Defendant; one premised on his status as a

  “business invitee” in the Port of Miami’s terminal and the other as a “passenger vacationing on a

  cruise ship,” in addition to breach of contract claims. Nevertheless, the underlying facts of this case

  remain the same; Plaintiff’s alleged incident occurred inside the Port of Miami’s terminal and his

  Complaint fails to state a claim against the Defendants and should be dismissed.1

                                            MEMORANDUM OF LAW

  I.        LEGAL STANDARD ON MOTION TO DISMISS

             To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted

  as true, to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.

  Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.



  1
   As further discussed herein, only the Defendant, NCL (Bahamas) Ltd., a Bemuda Company d/b/a
  NCL, is a proper party to this case.

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  Ct. 1955, 167 L. Ed. 2d 929 (2007)). A plaintiff must “plead factual content that allows the court to

  draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 1949

  (citing Twombly, 550 U.S. at 556). “The mere possibility the defendant acted unlawfully is insufficient

  to survive a motion to dismiss.” Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1261 (11th Cir. 2009).

  This pleading standard demands more than an unadorned, the defendant-unlawfully-harmed-me

  accusation.” Id. (quoting Twombly, 550 U.S. at 555). Pleadings must contain “more than labels and

  conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Twombly,

  550 U.S. at 555. Indeed, “only a complaint that states a plausible claim for relief survives a motion

  to dismiss.” Iqbal, 129 S. Ct. at 1950 (citing Twombly, 550 U.S. at 556).

  I.        PLAINTIFF’S FIRST NEGLIGENCE CLAIMS,                BASED ON HIS STATUS AS A            “BUSINESS
            INVITEE,” FAIL AND SHOULD BE DISMISSED

            The mere happening of an accident alone does not give rise to a negligence claim. Gordon v.

  Target Corp., 2008 U.S. Dist. LEXIS 48070 at *10, 2008 WL 2557509 (S.D. Fla. 2008) (quoting Belden

  v. Lynch, 126 So.2d 578, 581 (Fla. 2nd DCA 1961)); see also East Bay Raceway v. Parham, 497 So.2d 719,

  720 (Fla. 2nd DCA 1986). To properly plead a negligence claim, a plaintiff must allege four

  elements: “(1) a legal duty on the defendant to protect the plaintiff from particular injuries; (2) the

  defendant's breach of that duty; (3) the plaintiff’s injury being actually and proximately caused by the

  breach; and (4) the plaintiff suffering actual harm from the injury.” Belik v. Carlson Travel Group, Inc.,

  864 F. Supp. 2d 1302, 1308 (S.D. Fla. 2011) (quoting Zivojinovich v. Barner, 525 F.3d 1059, 1067 (11th

  Cir. 2008).

            If Plaintiff attempts to proceed on his alleged status as a “business invitee” in the

  Defendants’ “building”, regardless of the fact that the alleged incident occurred in the Port of

  Miami’s terminal, then under Florida law landowners owe two duties to business invitees. Marchan v.

  Ross Dress for Less, Inc., 2012 U.S. Dist. LEXIS 150939 at *5, 2012 WL 5198335 (S.D. Fla. 2012).

  First, they must “use reasonable care in maintaining the premises in a reasonably safe condition.” Id.

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  (quoting Sammon v. Target Corp., No. 8:11-cv-1258-T-30EAJ, 2012 U.S. Dist. LEXIS 128932, at *6

  (M.D. Fla. 2012). Second, landowners must “give the invitee warning of concealed perils which are

  or should be known to the landowner, and which are unknown to the invitee and cannot be

  discovered by him through the exercise of due care.” Id. (quoting Emmons, 478 So. 2d at 442).

          Instead, Plaintiff claims that the Defendants “had a duty to provide a reasonably safe means

  to traverse on its property for business invitees.” (DE 1, ¶ 18, 23, 28, 33). Not only was Plaintiff’s

  allegation originally part of a bold scheme to thwart the forum selection clause in the applicable

  Guest Ticket Contract to keep this case out of this Court, but now Plaintiff attempt to hold the

  Defendants to a legal standard that does not exist under the law.

          Regarding the two applicable duties to business invitees, the factual allegations in this case

  do not implicate the latter duty as both the people mover and the wheelchair were visible to Plaintiff

  and were not concealed in any way. See Marchan, 2012 U.S. Dist. LEXIS 150939 at *5 (“the facts do

  not implicate the latter duty to warn. The poles at issue were not concealed in any way, but were in

  fact visible to all of Ross’s customers. Indeed, Plaintiffs make no effort in their complaint to allege

  that the poles were concealed”). In this case, the Plaintiff’s Complaint similarly makes no effort to

  allege that the people mover or wheelchair was concealed such that the Defendant’s had a duty to

  warn its “business invitees.”

          Regarding the duty to maintain the premises in a reasonably safe condition, Plaintiff’s

  Complaint similarly does not allege that there was anything actually wrong with the people mover.

  In Marchan, the plaintiff failed to allege any breach beyond blanket statements that the defendant

  “knew or should have known that [a dangerous] condition existed and should have acted to prevent

  injury to Plaintiff.” See Marchan, 2012 U.S. Dist. LEXIS 150939 at *6. The Marchan Court held that,

  without the factual foundation to support these claims, the plaintiff’s allegations were speculative

  and should be dismissed.        In the present case, Plaintiff does not contend that there was anything


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  actually wrong with the people mover or that the Defendants knew or should have known of any

  dangerous condition. Plaintiff’s Complaint fails to state a negligence claim against the Defendants

  based on his status as a “business invitee” and Counts I-IV should be dismissed.

  II.     PLAINTIFF’S SECOND NEGLIGENCE CLAIMS,                 BASED ON HIS STATUS AS A CRUISE SHIP
          PASSENGER, FAIL AND SHOULD BE DISMISSED

          The law governing claims brought by passengers against cruise lines is the general maritime

  law of the United States. See generally, Thomas J. Schoenbaum, 1 Admiralty and Maritime Law §3-5

  (2d ed. 1994); Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318 (11th Cir. 1989); Beard v. Norwegian

  Caribbean Lines, 900 F.2d 71 (6th Cir. 1990); see also, Kermarec v. Compagnie Generale Transatlantique, 358

  U.S. 625 (1959); Pope & Talbot, Inc. v. Hawn, 346 U.S. 406 (1953). To properly plead a negligence

  claim, a plaintiff must allege four elements: “(1) a legal duty on the defendant to protect the plaintiff

  from particular injuries; (2) the defendant's breach of that duty; (3) the plaintiff’s injury being actually

  and proximately caused by the breach; and (4) the plaintiff suffering actual harm from the injury.”

  Belik v. Carlson Travel Group, Inc., 864 F. Supp. 2d 1302, 1308 (S.D. Fla. 2011) (quoting Zivojinovich v.

  Barner, 525 F.3d 1059, 1067 (11th Cir. 2008).

          To the extent that Plaintiff attempts to proceed based on his alleged status as a passenger

  after he disembarked from a cruise, it is well settled that a cruise line is not an insurer of its

  passengers’ safety, and does not become liable merely because an accident occurs, especially when

  that incident allegedly occurs after the cruise ends. See, e.g., Luby v. Carnival Cruise Lines, Inc., 633 F.

  Supp. 40, 41 (S.D. Fla. 1986). In relation to the duty of care owed to passenger on board a ship, the

  Court of Appeals for the Eleventh Circuit has held that “the benchmark against which a shipowner’s

  behavior must be measured is ‘ordinary reasonable care under the circumstances, a standard which

  requires, as a prerequisite to imposing liability, that the carrier have had actual or constructive notice

  of the risk-creating condition.’” Chaparro v. Carnival Corp., 693 F.3d 1333, 1336 (11th Cir. 2012)

  (quoting Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318, 1322 (11th Cir. 1989)).

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          In the present case, Plaintiff admits that he was not injured on the cruise ship. (DE 1, ¶ 46,

  58, 70, 82.)(“From November 14, 2012 until arriving back in Miami, Florida on November25, the

  cruise was uneventful with regard to tortuous activities as it relates to the Plaintiff.”). This incident

  also did not occur while the Plaintiff was off the ship at a scheduled port of call during the cruise.

  Instead, Plaintiff claims that he was injured after he safely exited the ship and was traversing through

  the Port of Miami’s terminal. (DE 1, ¶ 40)(“After leaving the ship and traversing the Norwegian

  Cruise Line terminal, and/or terminal designated by the Defendants to disembark, the Plaintiff was

  seriously injured.”). Based solely on the plain allegations in Plaintiff’s Complaint, Defendatnts

  fulfilled any duty they had to Plaintiff based on his status as a passenger on the cruise ship when the

  cruise terminated and he left the ship. Defendants did not owe Plaintiff any duty of care inside of

  the Port of Miami’s terminal and Plaintiff’s negligence claim fails.

          To the extent that Plaintiff argues that Defendants owed him any duty of care for an injury

  that occurred after the cruise ended and he left the ship, at most, that duty would only be to warn of

  dangers inside the Port of Miami’s terminal that it knew about. Chaparro v. Carnival Corp., 693 F.3d

  1333, 1336 (11th Cir. 2012)(citing Carlisle v. Ulysses Line Ltd., S.A., 475 So. 2d 248, 251 (Fla. 3rd

  DCA 1985))(“In the context of places beyond the point of disembarkation where passengers are

  invited or reasonably expected to visit, a cruise line’s duty to its passengers is to warn of known

  dangers.”). Further, the duty to warn of known dangers “extends only to those dangers which are

  not apparent and obvious to the passenger.” Isbell v. Carnival Corp., 462 F. Supp. 2d 1232, 1237

  (S.D.Fla. 2006)(citing Luby v. Carnival Cruise Lines, Inc., 633 F.Supp. 40, 41 n. 1 (S.D. Fla. 1986)).

          In the present case, Plaintiff claims that his alleged incident occurred beyond the point of

  disembarkation, “[a]fter leaving the ship and traversing the Norwegian Cruise Line terminal, and/or

  terminal designated by the Defendants to disembark.” (DE 1, ¶ 40). If Norwegian is held to the

  same standard of care in this case that is applicable to passengers disembarking in foreign ports


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  during a cruise, its duty to Plaintiff, if anything, could only have been to warn him of known dangers

  inside the terminal, which were not apparent or obvious to him. However, Plaintiff broadly alleges

  that the Defendants “had a duty to provide a reasonably safe means of disembarkment for its

  passengers.” (DE 1, ¶ 48, 60, 72, 84). Not only does Plaintiff attempt to hold the Defendants to a

  legal standard that does not exist under the law, but the contradictory allegations in Plaintiff’s

  Complaint confirm that Defendants did, in fact, provide him a reasonably safe means of

  disembarking its vessel as he admits that his incident occurred inside the terminal at the port of

  Miami. The factual allegation in Plaintiff’s Complaint simply do not support the legal duty that he

  attempts to enforce on the Defendants and his negligence claims fail on the first element.

          Additionally, Plaintiff Complaint lacks the requisite allegations regarding the Defendants’

  actual or constructive knowledge of a dangerous condition to support a breach of the correct duty in

  this case, the duty to warn. In Gayou v. Celebrity Cruises, Inc., 2012 U.S. Dist. LEXIS 77536 (S.D. Fla.

  June 5, 2012), the court dismissed a plaintiff’s negligence claim that failed to allege any facts showing

  that a cruise line knew or should have known of a dangerous condition relating to a zip-line

  excursion that would give rise to a duty to warn. Despite the plaintiff’s allegations that a “laundry

  list of breaches by [the cruise line] proximately caused the injuries he sustained when he slammed

  into a tree while zip-lining” the court recognized that “he has not alleged any facts from which it

  may be inferred that [the cruise line] either knew or should have known of any dangerous or unsafe

  condition associated with the zip-lining excursion.” Id. at *13. The court held that while the

  plaintiff’s complaint included “a host of breaches… there are no underlying facts suggesting the

  requisite actual or constructive knowledge… [to] invoke [the cruise line’s] duty to warn.” Id. at *12,

  13. In Gayou, the plaintiff’s complaint even included the specific allegation that the cruise line failed

  to warn the plaintiff of the zip-line’s potential for brake failure and that the brakes actually failed

  causing the plaintiff to crash into a tree and fracture his left foot and ankle. Nevertheless, the


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  plaintiff’s complaint was dismissed because it did not allege sufficient fact to show that the cruise

  line knew or should have known of the dangerous or unsafe condition associated with the zip-line

  excursion.

         In the present case, Plaintiff does not explain, or even allege, how Defendants could possibly

  know that a wheel chair would become lodged or stuck at the end of a people mover inside the

  terminal at the Port of Miami. Further, even if a wheelchair on a people mover constituted a

  dangerous condition, such a condition was as open and obvious to Plaintiff as it was to the

  Defendants. Plaintiff cannot allege that Defendants should have known of the alleged danger

  without any factual allegation to support that claim, especially when he did not recognize the danger

  as well and entered the people mover directly behind the wheelchair user. Accordingly, as Plaintiff

  has not alleged facts that would invoke a duty to warn of a particular dangerous condition that was

  not open and obvious, Count V, VII, IX, and XI of Plaintiff’s Complaint fail and should be

  dismissed.

  III.   PLAINTIFF’S CLAIM FOR BREACH OF CONTRACT IS IMPROPER AND MUST BE DISMISSED

         As a preliminary matter, although Plaintiff’s Complaint alleges that a copy of the passenger’s

  ticket contract is attached to the Complaint as Exhibit “A” (DE 1, ¶ 44, 56, 68, 80), the Defendants

  were not served with any exhibits attached to Plaintiff’s Complaint and, therefore, a true and correct

  copy of the subject Guest Ticket Contract between the parties is attached hereto as Exhibit “A.” See

  Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1281.16 (11th Cir 1999) (when a plaintiff files a complaint

  based on a document, but fails to attach the document to the complaint and the document is one

  that could have or in fairness should have been attached to the complaint, the defendant may so

  attach the document and it will be considered part of the pleading and thus, may be reviewed at the

  pleadings stage without converting the motion into one for summary judgment; see also Wajnstat v.

  Oceania Cruises, 2011 U.S. Dist. LEXIS 10900 (S.D. Fla. Feb. 4, 2011) (considering the passenger


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  ticket contract in ruling on Oceania’s motion to dismiss); Weaver v. Opera Tower, LLC., 2008 U.S.

  Dist. LEXIS 91294 *10 n.1 (S.D. Fla. Aug. 1, 2008).

           Plaintiff claims that each Defendant breached the Guest Ticket Contract2 “by failing to

  return him to the point of disembarkation safely.” (DE 1, ¶ 53, 65, 77, 89). Notably, Plaintiff’s

  statement here in support of his breach of contract claims is directly contradicted by the main

  underlying allegation in his Complaint that he was injured well after he was returned to the point of

  disembarkation and that his incident allegedly occurred while he was on a people mover inside the

  terminal at the Port of Miami. (DE 1, ¶ 10)(“At all times material hereto, Plaintiff, JACK LIPKIN,

  was a business invitee and was injured in the building owned, operated, managed and/or controlled

  by one or more of the Defendants and/or their agents.”); (DE 1, ¶ 40)(“After leaving the ship and

  traversing the Norwegian Cruise Line terminal, and/or terminal designated by the Defendants to

  disembark, the Plaintiff was seriously injured.”); (DE 1, ¶ 46, 58, 70, 82)(“From November 14, 2012

  until arriving back in Miami, Florida on November 25, the cruise was uneventful with regard to

  tortuous activities as it relates to the Plaintiff.”).

           Regardless of the veracity or consistency of the allegations in Plaintiff’s Complaint, under

  general maritime law a cruise ship passenger may not bring a breach of contract claim against a

  cruise line for personal injuries, “unless there is an express provision in the contract of carriage

  guaranteeing safe passage.” Doonan v. Carnival Corp., 404 F. Supp. 2d 1367, 1372-1373 (S.D. Fla.

  2005); see also Doe v. Celebrity Cruises, 145 F. Supp. 2d 1337, 1346-1347 (S.D. Fla. 2001) (dismissing

  breach of contract claim where plaintiff alleged that defendants breached an implied contractual duty

  when they failed to transport her to and from the cruise destination with the highest degree of care

  and vigilance for her safety, and holding that such breach of contract actions cannot be implied);

  2
   The only Defendant named in the Guest Ticket Contract is NCL (Bahamas) Ltd. and Plaintiff fails
  to attach a contract between Plaintiff and any other Norwegian Defendant to support his claims for
  breach of contract.

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   Hass v. Carnival Cruise Lines, Inc., 1986 A.M.C. 1846, (S.D. Fla. 1986) (holding that the law of

   admiralty will not imply a provision guaranteeing safe passage, and granting summary judgment to

   the defendants where the contract in question contained no provision that would obligate the

   defendants to provide safe passage).

           In the present case, the Guest Ticket Contract between the parties does not contain such a

   provision guaranteeing safe passage. See Guest Ticket Contract. Therefore, under general maritime law

   Plaintiff’s allegation, even if it was true and not contradicted by the remainder of his allegations in

   his Complaint, is insufficient to state a claim for breach of contract against the Defendants. See, e.g.,

   Doonan, 404 F. Supp. 2d at 1373; Doe, 145 F. Supp. 2d at 1346-47. Accordingly, Count VI, VIII, X,

   and XII of Plaintiff’s Complaint should be dismissed with prejudice.

   IV.     PLAINTIFF’SCLAIM FOR ATTORNEY FEES SHOULD BE STRICKEN BECAUSE PLAINTIFF
           HAS CITED TO NO STATUTORY AUTHORITY OR CONTRACT PERMITTING THE AWARD OF
           ATTORNEY’S FEES

           In Counts V-XII of his Complaint, Plaintiff demands that this Court award him attorney’s

   fees. (DE 1, Count V-XII). However, under the “American Rule,” attorney’s fees may only be

   awarded pursuant to an entitling statute or an agreement of the parties. Dade County v. Pena, 664 So.

   2d 959 (1995); Bane v. Bane, 775 So. 2d 938 (Fla. 2000); State Farm Fire & Cas. Co. v. Palma, 629 So.

   2d 830 (Fla. 1993). Similarly, under general maritime law, a prevailing party is not entitled to

   attorney’s fees unless they are statutorily or contractually authorized. Stires v. Carnival Corp., 243 F.

   Supp. 2d 1313 (S.D. Fla. 2002); Coastal Fuels Mktg., Inc. v. Florida Exp. Shipping Co., Inc., 207 F. 3d

   1247, 1250 (11th Cir. 2000); Garan Inc. v. M/V Aivik, 907 F. Supp. 397 (S.D. Fla. 1995); Noritake Co.

   v. M/V. Hellenic Champion, 627 F. 32d 724 (5th Cir. 1980). In the instant case, Plaintiff failed to cite

   any statutory authority or provision of a contract which entitles him to attorney’s fees.

   Accordingly, Plaintiff’s claim for attorney’s fees should be stricken.




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   V.     NORWEGIAN CRUISE LINE LIMITED, NORWEGIAN CRUISE LINES,
          INC.; AND NCL AMERICA, INC. ARE IMPROPER PARTIES AND SHOULD
          BE DISMISSED

          As noted above, the only Defendant named in the Guest Ticket Contract is NCL (Bahamas)

   Ltd. See Exhibit “A.” Further, despite Plaintiff’s allegations that Norwegian Cruise line Limited,

   Norwegian Cruise Line Inc., and NCL America, Inc. are all authorized to do and w[ere] doing

   business in the State of Florida,” even a cursory review of the status of these entities on sunbiz.org

   would have revealed to Plaintiff that they are inactive and/or dissolved entities that are not the

   proper parties to this lawsuit. See Florida Department of State, Division of Corporations, Entity

   Records for Norwegian Cruise line Limited, Norwegian Cruise Line Inc., and NCL America, Inc.

   attached hereto as Exhibit “B.” The only proper party to this lawsuit is NCL (Bahamas) Ltd. and

   the remaining Defendants should be dismissed.

          WHEREFORE, Defendants, NORWEGIAN CRUISE LINE LIMITED, NORWEGIAN

   CRUISE LINES, INC., NCL (Bahamas) LTD., d/b/a NCL, and NCL AMERICA, INC.

   CARNIVAL CORPORATION, respectfully request that this Honorable Court dismiss Plaintiff’s

   Complaint and grant any and all further relief that this Honorable Court deems just and proper.

          Dated: March 13, 2014
                 Miami, Florida
                                                    Respectfully submitted,

                                                    FOREMAN FRIEDMAN, P.A.

                                            BY: /s/__ Darren W. Friedman __________
                                                   JEFFREY E. FOREMAN, ESQ. (FBN 0240310)
                                                   jforeman@fflegal.com
                                                   DARREN W. FRIEDMAN, ESQ. (FBN 0146765)
                                                   dfriedman@fflegal.com
                                                   BRIAN H MCGUIRE, ESQ. (FBN 91848)
                                                   bmcguire@fflegal.com
                                                   One Biscayne Tower, Suite 2300
                                                   2 South Biscayne Boulevard
                                                   Miami, FL 33131
                                                   Tel: 305-358-6555/Fax: 305-374-9077
                                                   Counsel for Defendants

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                                      CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

   Court via CM/ECF on this 13th day of March, 2014. We also certify that the foregoing was served

   on all counsel or parties of record on the attached Service List either via transmission of Notices of

   Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

   parties who are not authorized to receive electronic Notices of Filing.

                                                    By: /s/_Darren W. Friedman___________________
                                                           Darren W. Friedman, Esq.
                                                           Brian H McGuire, Esq.

                                          SERVICE LIST
                              CASE NO: 13-24206-CV-WILLIAMS/Turnoff

    Scott L. Henratty, Esq.,                                     Jeffrey E. Foreman, Esq.
   servemalovehenratty@malovelawfirm.com                         jforeman@fflegal.com
   lspellacy@malovelawfirm.com                                   Darren W. Friedman, Esq.
   MALOVE HERNATTY, P.A.                                         dfriedman@fflegal.com
   14 Rose Drive                                                 Brian H McGuire, Esq.
   Fort Lauderdale, Florida 33316                                bmcguire@fflegal.com
   Tel: 954-767-1000/Fax: 954-767-1001                           FOREMAN FRIEDMAN, PA
   Counsel for Plaintiff                                         One Biscayne Tower – Suite #2300
                                                                 2 South Biscayne Boulevard
                                                                 Miami, Florida 33131
                                                                 Tel: 305-358-6555/ Fax: 305-374-9077
                                                                 Counsel for Defendants




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     FOREMAN FRIEDMAN, PA, 2 South Biscayne Boulevard, Miami, FL 33131 Tel: 305-358-6555 / Fax: 305-374-9077
